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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA

MELVIN R WARRICK, IV                             )
                                                 )
         v.                                      )       CASE NO.: 1:18-CV-402-WCL-SLC
                                                 )
TRINE UNIVERSITY                                 )

                                              ORDER

        The court notes that a Fed. R. Civ. P. 16 Preliminary Pre Trial Conference has been
conducted in this case, and all deadlines up to and including the close of discovery have been
established.

         The court now sets March 2, 2020 as the deadline for the filing of dispositive motions.

       Further, counsel are instructed to confer and discuss the various forms of Alternative
Dispute Resolution ("ADR") including mediation.1 If mediation is selected, the parties shall
agree upon a mediator and report to the court the identity of the mediator. In the event counsel
cannot agree on a mediator then the court will make the selection. Counsel may review the list of
mediators located on the Court’s website under Info/Forms, Mediation/ADR.

        If they have not done so prior to this date, counsel are to deliver to their client, forthwith,
a written estimate of the fees and expenses which their client will incur if this cause is fully
litigated through trial. That estimate is also to contain a separate estimate of those fees and
expenses reasonably expected to be incurred through an early successful mediation (i.e., a
mediation occurring within sixty days of the Rule 16 Preliminary Pretrial Conference). Counsel
shall then certify their compliance with this directive by electronically filing an attorney/client
certification2, prior to the date of the telephonic status and scheduling conference.

        This case will be set for further telephonic status and scheduling conference after the
expiration of the dispositive motion deadline, and in the event that motions are filed, after said
motions have been ruled upon.

        Counsel for all parties shall participate in at least one settlement conference prior to any
future telephonic status and scheduling conference. This conference should be a personal
conference, if possible, but may be a telephone conference. If this is a case in which attorney
fees may be assessed as costs, the attention of the parties is directed to Marek v. Chesny, 105
S.Ct. 3012 (1985). See appendix to Justice Brennan's dissent at pp. 3036-37 for complete listing


   3
     The attention of counsel is specifically directed to the Court's ADR Pamphlet (1/96) located on the
Court’s website, under Info/Forms, Mediation/ADR.. .
   2
       The certification form can be found on the Court’s website under Info/Forms, Forms
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of cases affected.

       Enter: May 24, 2019
                                        s/William C. Lee
                                        William C. Lee, Judge
                                        United States District Court
